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                 UNITED STATES DISTRICT COURT

                NORTHERN DISTRICT OF CALIFORNIA


 AGONAFER SHIFERAW, dba FILLMORE     )
 ENTERTAINMENT COMPLEX/REPUBLIC OF   )
 FILLMORE, LLC,                      )
                                     )
        Plaintiff,                   )         Case No.
                                     )         4:18-cv-06830-SBA
 vs.                                 )
                                     )
 CITY AND COUNTY OF SAN FRANCISCO;   )
 Mayor LONDON BREED, an individual, )
 in both her personal and official   )
 capacities; Reverend AMOS BROWN,    )
 an individual, in both his personal )
 and official capacities; Director   )
 of the Mayor's Office of Economic   )
 and Workforce Development; JOAQUIN )
 TORRES, an individual, in both his )
 personal and official capacities;   )
 City Administrator NAOMI KELLY, an )
 individual, in both her personal    )
 and official capacities; Former     )
 District 5 Supervisor VALLIE BROWN, )
 an individual, in both her personal )
 and official capacities; and DOES   )
 1-100,                              )
                                     )
        Defendants.                  )
 ____________________________________)



           DEPOSITION BY REMOTE VIDEOCONFERENCE OF

                        AGONAFER SHIFERAW

                   Friday, February 12, 2021



                 BONNIE L. WAGNER & ASSOCIATES
                      villagerun@msn.com
                        (415) 982-4849


 Reported remotely by:      Dawn E. Howard, CSR No. 13201


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1     Breed nor the City responded."

2                Do you believe that statement to be true and

3     correct, as you sit here today?

4           A.   Yes.

5           Q.   "(4), Breed's disregard of the management plan

6     proposal Plaintiff delivered to her after the City took

7     possession of the Center."

8                Do you believe that statement to be true and

9     correct, as you sit here today?

10          A.   Yes.

11          Q.   "(5), Breed's assertion, on information and

12    belief, that Plaintiff was not the preferred candidate

13    to purchase the center because of his ethnicity and

14    origin, and that she would make the final decision."

15               Is that statement true and correct, as you sit

16    here today?

17          A.   Yes.

18          Q.   "(6), Breed's statement, 'I'm not going to give

19    it to that African,' that Plaintiff was trying to turn

20    the Center into an Ethiopian center, and that Black

21    people were born in the United States, referring to

22    Plaintiff and his efforts to purchase the Center."

23               Do you believe that statement to be true and

24    correct, as you sit here now?

25          A.   Yes.   Correct.




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1                So, yeah, you can say, "Did she tell you that?"

2     She didn't tell me that she's a crook and she's corrupt

3     and that she would do that, but the truth is this is

4     what has happened.      And there is a pattern and a

5     continuous pattern of underhandedness that manifests

6     itself continuously in this regard, and that's why the

7     place is still closed.

8           Q.   And when did Mayor Breed make that statement to

9     Fred Jordan?

10          A.   From what I understand, I'm not sure if it was

11    the same 2017 or 2016, but the African-American Chamber

12    of Commerce usually has an annual luncheon at the

13    Marriott Hotel celebrating the black history month or

14    doing things.      And right after that luncheon is when he

15    told me that that's what happened.

16          Q.   Was it before the RFP process or after?

17          A.   Yes.

18          Q.   I mean -- it was before?

19          A.   I think so.

20          Q.   Okay.    So other than that, do you have any

21    other direct evidence that Mayor Breed was involved in

22    the RFP process?

23               MR. ROSENFELD:    A continued objection.       The

24    line of questioning calls for legal opinion and

25    conclusion.




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1     objections.

2                Go ahead.

3                THE WITNESS:    Yeah.   The decision to favor FHC

4     and, prior to that target, the Fillmore Heritage

5     Partners Group -- I guess that's also part of the Puff

6     Daddy group.    And I know later on the -- Dr. Bates is --

7     basically, it originated earlier on by London Breed, by

8     Amos Brown, and her associates.        So every decision,

9     everything that they do, does not mean that today we're

10    going to make a racist decision or a xenophobic decision

11    to harm Agonafer.      It has been established.      One of the

12    ways that it was established is that London Breed, in a

13    City Hall rally, in a publicly recorded message, made it

14    clear to the public that she was not going to have

15    outsiders come into our community to take over the

16    heritage center.

17               Well, obviously the only outsider is someone

18    black, but Ethiopian, and, from their perspective, who

19    isn't considered black enough.        So that decision has

20    been made earlier on in this process.         So there's no

21    point that at every step the decision is that it's

22    related to their racist intention.        So it has been --

23    the whole process was denying me an opportunity.           The

24    whole process was discriminating against me.          The whole

25    process was based on that thinking, and she made it




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1           A.   I think in either late 2017 or something.

2           Q.   And --

3           A.   Oh, no.    No.   Sorry.   I thought you were asking

4     me about the comment she made "I'm not going to allow

5     outsiders to come into the community and take over."

6     "That African" was a similar time period when I heard

7     it, and I'm not sure if it was the last part of 2016 or

8     2017, but that's the message I heard.

9           Q.   And who told you that?

10          A.   If I don't -- it either came from -- I'm not

11    sure the exact person, if it was Fred Jordan or in a

12    conversation that I had with Dr. Bates.         I'm not sure.

13    I don't quite recall exactly who.

14          Q.   All right.    So now I'm understanding that there

15    were two conversations.      So one was in 2016, and

16    possibly Fred Jordan says at a chamber of commerce event

17    in June "London Breed said to him at his table 'I'm the

18    one that's going to make the decision about this,'" or

19    something like that?

20          A.   Yeah.    He told me that she's going to make the

21    final decision on this deal.         She is the one who's going

22    to make the final decision.

23          Q.   Okay.    And that was either --

24          A.   And not only that, he checked with Naomi Kelly,

25    you know, "Is this a good idea," whatever.          And Naomi




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1     Kelly told him, "She is the one who's the supervisor,

2     and I don't want to get involved in that."

3           Q.   And then the second one was either Fred Jordan

4     or Dr. Bates told you that London Breed said "I'm not

5     going to give it to that African"?

6           A.   I think more likely in a discussion that we

7     had -- a three-way discussion or -- with Dr. Bates and

8     maybe someone else that came up.        I'm not sure at this

9     stage if it was Dr. Bates or somebody else, but the

10    comment was made.

11          Q.   And that was -- and so you learned of this in

12    late 2017; is that right?

13          A.   Not late 2017.    I think it's right around the

14    RFP interview or after, when there was discussion about

15    the FHC group amending their complaints.         Actually, they

16    were amending their complaints with Joaquin Torres, and

17    then -- Fred Jordan and the black chamber of commerce

18    actually wanted to join.       That's what happened,

19    actually.    Fred Jordan and the black chamber of commerce

20    wanted to join my team, including at that time, who had

21    shown interest, Dr. Bates, to submit a revised proposal

22    to the City.    And I think that was the discussion at

23    that time.

24               Because Fred Jordan and the black chamber of

25    commerce were part of the community benefit group with




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1     FHC2017, the Shelton group.       They withdraw for whatever

2     reason, and that's why Shelton needed to revise their

3     proposal with an instruction from Joaquin Torres.           But

4     we tried to do the same thing, to send a revised -- I

5     sent a letter to Joaquin Torres, or to that group,

6     stating that this community group, the black chamber of

7     commerce, Fred Jordan, and the prominent

8     African-American individual, Dr. Bates, are interested

9     to join, and I want to see if I can revise the proposal

10    and submit the proposal.       And I was told later that they

11    will not accept any more revised proposals until they

12    make a final decision.      I think there's a letter to that

13    extent.

14          Q.   Okay.    So I want to go back to this allegation.

15    So in what context did London Breed state "I'm not going

16    to give it to that African"?

17          A.   I think in this discussion -- in an informal

18    discussion among the three of us-- in fact, there was

19    another lady.      I forget her name.    She was a consultant

20    for FHC, Claudia.      Yeah, a FHC2017 consultant who did

21    the proposal.      She also withdrew from the FHC proposal.

22    She's a prominent African-American woman.          So we had a

23    meeting, actually, in retrospect, the four of us.           They

24    invited me to attend this meeting with Fred Jordan and

25    Claudia, who wrote the proposal for the FHC and now who




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1     resigned from that group.       And that's the first time I

2     met Dr. Bates.       I'd never met him before.     And in that

3     discussion -- it was an open discussion of what's going

4     on and why there was a discussion between Dr. Bates and

5     London Breed.       And if I'm not mistaken, he is the one

6     who made a statement, well, you know -- because he made

7     a statement that in a phone conversation or a discussion

8     she made that statement that "I'm not going to give that

9     African the facility."

10                Now, one thing is, you know, there's been

11    frequent communication and visits to Dr. Bates' home up

12    in Napa Valley by London Breed, a frequent visit.           So

13    that, to me, looked like in some casual environment he

14    made that comment to her, but it is a comment that I

15    heard.     I didn't fabricate that.     That's a comment I

16    heard.     Now --

17          Q.    I apologize.

18          A.    No, don't apologize.    Go ahead.

19          Q.    No.    I don't want to cut you off.

20          A.    I think that's -- I'm done.

21          Q.    Okay.    Did Dr. Bates tell you who else was

22    involved in the conversation where London said "I'm not

23    going to give it to that African"?

24          A.    No, he didn't tell me that.      But he did make it

25    clear to me that it was in closed communication and best




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1     of friends, and she visits him on a regular basis on

2     weekends or something like that, and he didn't have any

3     problem calling her and asking for a visit of the

4     facility, even though it was -- a proposal was closed

5     and all that, arranging a special visit for him, which

6     happened.     And so in that context I just assumed, yeah,

7     they are -- you know, that statement came.          Now, as much

8     as I don't remember the exact details, he might say he

9     doesn't remember.      But, I mean, I know I heard it the

10    same way I heard what Fred Jordan said, because Fred

11    Jordan's was more like a report:        "This is what she

12    said.    This is what Naomi Kelly said."       So that was

13    clear.

14                The other one, we heard it at that meeting in a

15    casual format.      But it wasn't a surprise to me, because

16    I knew that she had issues with me.        And I don't know if

17    it's racially motivated, or I don't know whether it's

18    not racially motivated.      It is biased.     It is

19    discriminatory.      I heard it that day, and so I could,

20    obviously, remember it.

21           Q.   Okay.   So going back to your pattern of

22    discriminatory practices, you've given me three specific

23    examples or occasions, and we talked about the first

24    one.    And the second one was in the proposal -- it was a

25    revitalization proposal that you submitted?




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1                    DEPOSITION OFFICER'S CERTIFICATE

2      STATE OF CALIFORNIA     )
                               )SS.
3      COUNTY OF SAN FRANCISCO )

4

5           I, DAWN E. HOWARD, CSR, hereby certify:

6           I am a duly qualified Certified Shorthand Reporter
       in the State of California, holder of Certificate Number
7      13201 issued by the Court Reporters Board of California
       and which is in full force and effect. (Fed. Rules of
8      Civ. Proc. 28(a)).

9      I am authorized to administer oaths or affirmations
       pursuant to California Code of Civil Procedure, Section
10     2093(b); and prior to being examined, the deponent was
       first duly sworn by me. (Fed. Rules of Civ. Proc.
11     28(a), 30(f)(1)).

12          I am not a relative, employee, attorney, or counsel
       of any of the parties, nor am I a relative or employee
13     of such attorney or counsel, nor am I financially
       interested in this action. (Fed. Rules of Civ. Proc.
14     28).

15          I am the deposition officer that stenographically
       recorded the testimony in the foregoing deposition, and
16     the foregoing transcript is a true record of the
       testimony given by the deponent. (Fed. Rules of Civ.
17     Proc. 30(f)(1)).

18          Before completion of the deposition, review of the
       transcript [ X ] was [ ] was not requested. If
19     requested, any changes made by the deponent (and
       provided to the reporter) during the period allowed are
20     appended hereto. (Fed. Rules of Civ. Proc. 30(e)).

21          Dated: February 23, 2021

22

23                                   ______________________________
                                     DAWN HOWARD, CSR
24                                   State of California
                                     CSR License No. 13201
25




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